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The United States District Court.
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Eastern District of Wisconsipy yea jej) 5.

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Robert Johnson, and )
Charles Johnson )
Plaintiffs, ) Case No,

VS. ) 13-G-U4%>
)

City of Kenosha, )

Jeremy Loesch, )

Aaron Dillhoff, and )

Six (6) “Unidentified” John and Jane Doe )

 

Law Enforcement Officers )
Defendants. )

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NATURE OF THE CASE

 

This is a civil rights action for damages arising under 42 U.S.C. 1983, Bivens and
supplemental Wisconsin state law claims from an unreasonable search and seizure that

took place at Plaintiff's residence in Kenosha, Wisconsin.

On November 7, 2012, (8) law enforcement officers, including local Kenosha
police officers and U.S. Deputy Marshals, entered Plaintiffs’ residence without consent,
search warrant or exigent circumstances, under the belief that one of the residents’ son
was living at the residence. One of the Plaintiffs was advised his son was wanted for
questioning regarding an armed robbery case in Illinois and that he had not seen his

probation agent.

After been advised that the individual did not live at the residence, Defendants
conducted a 90 minute unlawful search of residence, forcibly opening a basement
bedroom door of another Plaintiff, who was asleep, and awaken at the sight of law

enforcement officers pointing a gun directly at him.

The Plaintiffs in the residence were detained and kept at gun point, while
Defendants proceeded to conduct a “full search” of the residence for a 90 minute

period. Plaintiffs’ were advised they were not free to leave or move.

Plaintiffs’ contend, among other things, that the Defendants acted pursuant to an
unconstitutional policy or custom, based on the actions of a Supervisory Officer, that
was delegated with the final policy making authority relevant to claims at issue in this

present action.

As a result, Plaintiffs suffered numerous damages as a direct and proximate

result of Defendants’ unlawful actions.

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JURISIDCTION

This action arises under the Fourth and Fourteenth Amendments to the
Constitution of the United States; 42 U.S.C. § 1983; and under Bivens v. Six
Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388

(1977).
Jurisdiction is conferred on this Court by 28 U.S.C. § 1331 and 28 U.S.C. §
1332(a).

 

The Court has personal jurisdiction over the defendants because the alleged

incidents occurred with the confines of this court.

This Court has supplemental jurisdiction over Plaintiffs’ state law claims
pursuant to 28 U.S.C. § 1367(a), because they are part of the same case and

controversy described by Plaintiffs’ federal claims.

VENUE

 

Venue is proper in the Eastern District of Wisconsin pursuant to 28 U.S.C. §
1391(b).
PARTIES

A. The Plaintiffs
Plaintiff Robert Johnson is a citizen of Wisconsin and resides at 4216 31st
avenue, Kenosha, Wisconsin 53144.
Plaintiff Charles Johnson is a citizen of Wisconsin and resides at 4216 31st
avenue, Kenosha, Wisconsin 53144.

B. The Defendants

Defendant Aaron Dillhoff, at all times relevant to this action, was acting in a
supervisory police officer and/or policymaking role for the Kenosha Police
Department, located at 1000 55th Street, Kenosha, Wisconsin 53140.
Defendant is an employee of the Kenosha Police Department and resident of

the State of Wisconsin and is being sued in his “individual” capacity.

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9) Defendant Jeremy Loesch, at all times relevant to this action, was acting ina
supervisory Deputy U.S. Marshal and/or policymaking role for the United
States Marshals Office, Department of Justice, located at 517 E. Wisconsin
Avenue, Milwaukee, Wisconsin 53202, an agency of the United States of
America. Defendant Jeremy Loesch is a resident of the State of Wisconsin
and is being sued in his “individual” capacity.

10)Defendant City of Kenosha, a municipal corporation and/or political
subdivision, duly organized and existing under the laws of the State of
Wisconsin, with its principal offices located at 625 524 Street, in the City of
Kenosha, County of Kenosha and State of Wisconsin (53140) and is being
sued in its “official” capacity.

FACTUAL ALLEGATIONS

11) On November 7, 2012, at approximately 8:00 a.m., Plaintiff Robert Johnson,
hereinafter referred to as “Robert”, was awaken by loud noises, to which he
determined was individuals banging on his front window and front door of his
residence.

12) Robert proceeded to the front door, barely awake and opened the door and
seen (8) eights individuals in plain clothes with their hand guns pointed
directly at him.

13) At the time Robert opened the front door; he only witnessed plain clothes
individuals and did not see any marked police cars and was not sure who the
individuals were.

14) Plaintiff Robert Johnson and Plaintiff Charles Johnson, hereinafter referred to
as “Plaintiffs”, later determined the individuals to be Kenosha police officers
and Deputy U.S. Marshals.

15) Robert was not fully awake and startled at the presence of numerous

defendant officers pointing their guns directly at him.

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16)One of the officers, later identified as Defendant Jeremy Loesch, hereinafter
referred to as “Loesch”, stated in an excited and hurried tone, “Are you

Jamir"?, to which Robert responded by stating, “No, he does not live here’.

17)Loesch then stated, “Well, we have reason to believe he lives here and we
need to come in and talk to you”.

18) Before Robert could respond, Defendant Jeremy Loesch, Defendant Aaron
Dillhoff and the remaining unidentified law enforcement officers, hereinafter
referred to as “Defendants”, immediately started to rush towards the front

door entrance, to which Robert responded to by stepping back.

19) Robert stepped back from the front door entrance, as he felt intimidated and
threatened by the large presence of armed individuals and did not feel he had
a choice.

20) As Robert stepped back, Loesch took control of the door, fully opened it, and
allowed the defendants to proceed into the house. The defendants did not
identify themselves.

21) As the defendants started to enter, one of the defendants, later identified as
Defendant Aaron Dillhoff, hereinafter referred to as “Dillhoff’, asked Robert if
anyone else was present in the house or if any weapons were present, to
which Robert responded by stating that he believed his brother was in a
basement bedroom, but was not sure; and that it was no weapons in the
home.

22) Thereafter, some of the defendants proceeded to go to the hallways towards
the bedrooms and others proceeded towards the kitchen and then to the
lower level or basement of the residence.

23) As the defendants proceeded to pass Robert, he noticed small emblems on
some of the defendants’ jackets that read, “U.S. Marshal’.

24) Robert then stated, “Wait a minute, | did not give anyone permission to come
into my home” and started to follow one of the officers going towards the

bedrooms.

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25) At this point, Dillhoff advised Robert he was not free to move and that he
needed to stay right where he was standing. He identified himself as a police

officer and provided his name at that time.

26) In addition, Loesch identified himself as a “Deputy U.S. Marshal” and

provided his name at that time.

27) Dillhoff then stated he would explain everything to Robert. Dillhoff stated they
had reliable information to believe Jamir lived at the residence, that Jamir had

not seen his probation officer and that he was in a lot of trouble.

28) Dillhoff further advised Robert that it was best that he cooperated with them

and provide any information he had about Jamir’s whereabouts.

29)Dillhoff further stated they believed Jamir was possibly involved in an armed
robbery in Illinois, that he was possibly armed and that was the reason for the
Defendants’ heavy armed presence and subsequent urgent actions.

30)Robert, for the second time, stated Jamir did not live at the residence and that
he has not seen Jamir for a long time. Robert informed Dillhoff and Loesch

that they could possibly ask his mother, who lived in Evanston, Illinois.

31) Robert watched as defendant officers went from room to room and he could
hear items being moved around, as Loesch and Dillhoff remained in the living
room area with Robert.

32)Robert also witnessed defendant officers making “repeated” trips to the
bedroom, while reporting back to Loesch and Dillhoff about items they
witnessed, and obtaining additional instructions from Dillhoff.

33)On some occasions, Dillhoff proceeded with the defendant officers to the
rooms and later returned.

34) Again, Robert advised Loesch and Dillhoff that they did not have any right to
enter or search his residence.

35)Loesch responded by stating Jamir was in a lot of trouble, has not reported to

his probation agent and that they had the right to look anywhere they needed.

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36) Plaintiff Charles Johnson, hereinafter referred to as “Charles”, was asleep in a

bedroom in the basement and was partially dressed.

37)Charles heard numerous individuals in the basement and then heard a loud
noise, as one of the defendant officers used a flashlight to hit and forcibly

open his closed bedroom door.

38) As a result of the defendants’ actions, a puncture mark was left on the

bedroom door and the door knob was damaged.

39)Prior to coming into the bedroom, a defendant officer asked Charles if he was
“Jamir’, to which Charles responded by stating, “no, what the hell is going
on?."

40) Thereafter, a female and male defendant officer proceeded into the bedroom
with their guns drawn directly at Charles and advised Charles they had a
felony search warrant, and that he needed to be immediately escorted to the
living room area.

41) The defendants never identified themselves to Charles.

42) The defendant officers escorted Charles from the basement to the living
room area and advised him that he was not free to leave or move from where
he was standing.

43) Robert and Charles continued to voice their opposition to the defendant
officers’ entry and search of the residence.

44) Robert continued to reiterate to the defendants that Jamir never lived at the
residence and that any information they had that indicated he lived at their
residence was not true.

45) Robert asked Dillhoff if they had a “search warrant’, to which he responded
by stating “no” and that they did not need one, as Jamir was on probation and
in a lot of trouble.

46)Robert advised Dillhoff that he was certain they did not have the right to
search or enter their residence without consent, to which Dillhoff responded

by informing Robert that he was fully aware of all the actions taken by

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Defendants in the residence, assured Robert they were following correct

procedures, and stated he was a supervisor in charge of the team.

47) According to a public website on the internet by the City of Kenosha, it
contains a web page titled, “Kenosha Police Department Policy and
Procedure Manual-Searches of Premises with and without a Warrant”, which
states a Supervisory officer will be delegated with the responsibility of
planning, coordinating, assigning officer assignments, working with other law
enforcement agencies, and conducting a pre-briefing in the execution of
search warrants and/or warrant service. In addition, it states a Supervisory
Officer will be ultimately responsible for all aspects of the search and the

outcome of the execution of the search.

48) Dillhoff provided his business card to Robert and advised him he was free to
come to his office, if he had any additional concerns. Loesch also provided

his business card and stated the same.

49) Robert witnessed as defendant officers continued to report to Dillhoff on the
status of their searches and one of the defendant officers advised Dillhoff that
he observed paperwork in one of the bedrooms that had “Jamir’s” name on it.

Dillhoff departed with the defendant officer to the bedroom.

50)Charles and Robert remained guarded by two or more defendant officers at
all times, with at least one officer having his or her gun drawn and pointed at

them during the initial portion of the encounter.

51)At other times, Defendants situated themselves in what appeared to be very
guarded positions, while continuing to guard Plaintiffs by maintaining
consistent eye contact and leaving at least one hand on their handgun,
thereby giving Plaintiffs’ the impression that if one false move was made, it

could have deadly consequences.

52)The defendants continued to search the residence for 90 minutes, while
repeatedly refusing to allow Plaintiffs’ the ability to move from where they

stood in the living room area.

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53) Dillhoff and Loesch repeatedly responded to Robert’s subsequent requests
to know what specific information they possessed to lead them to believe
Jamir lived at the residence or was currently at the residence, by informing
Robert that Jamir was on probation, was not in contact with his probation
officer and that it was possible he was involved in an armed robbery case in

Illinois.

54) While this incident was taking place, Plaintiffs’ neighbors and residents in the

area started to gather and watch Plaintiff's residence.

55)Plaintiff's sister, Dezerrea Johnson, also stopped by their residence after
seeing the heavy presence of law enforcement officers, people gathering near

the residence and seeing the front door of the residence wide open.

56) As a defendant officer approached her, Dezerrea informed the officer she
was Plaintiffs sister and wanted to know what was going on, to which the
officer responded by asking if she knew where Jamir lived or his current

whereabouts.

57) Dezerrea advised the officer she has not seen Jamir in a long time, did not
know his whereabouts, that she did not believe he lived at Plaintiffs’ residence

and that she believed he stayed somewhere in Illinois.
58) Dezerrea did not enter the residence and left after 20 minutes.

59) After this incident, Robert and Charles continue to be questioned by their

neighbors and residents that live in the area about what took place.

60) Despite Plaintiffs’ insistence to their neighbors they did nothing wrong,
neighbors continue to believe that Plaintiffs had done something very serious
and illegal, due to the large presence of law enforcement officers they

witnessed and the long period of time they stayed at the residence.

61) The Plaintiffs had delicate carpet installed throughout the home, including
several pieces of designer rugs in selected areas. Plaintiffs always required
visitors to their home to remove their shoes in order to protect the carpet and

designer rugs.

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62) The Defendant officers’ repeatedly tracked dirt from the outside, as they went
in and out of the home, in addition to repeatedly entering and exiting the

rooms during their 90 minute search.

63) The designer rugs were damaged, as the foot marks and dirt could not be
removed. In addition, the delicate carpet throughout the home had to be

professionally cleaned, but the foot marks could not be fully cleaned.

64) The defendants damaged Charles’ bedroom door and door knob, to which

had to be replaced.

65) As a direct result of Defendants’ actions, Charles is having trouble sleeping
at night and has been repeatedly startled and shaken by family members who

enter the residence, without his knowledge.

66) For several months after this incident, Charles indicated that he has

withdrawn from family members and friends to avoid confrontations.

67) Charles indicates that he now feels a deep distrust against law enforcement,
humiliated, and felt his dignity was taken away, as he continues to vividly
remember the sight of the female defendant officer who entered his room as
he was partially dressed and how he was startled by guns pointed directly at
him.

68) Robert, in addition to family members and friends, have been into repeated
and sometimes lengthy arguments with Charles concerning a citizen’s 24
amendment right to bear arms to protects themselves from the intrusions by

the government, as a result of Defendants’ actions.

69) As a direct result of Defendants’ actions, Charles indicated that he felt it
necessary to withdraw from his family and friends, as he did not appreciate
being repeatedly accused of being overly paranoid of the police and how

others did not understand how the defendants’ actions deeply affected him.

70) In addition, Charles felt insulted that family members have asked him to see
a therapist to address the issues he was dealing with and how to cope with

them.

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71) Robert, at the time this complaint took place, was a customer service
Manager for the Hertz Corporation at the Chicago O’Hara Airport. His primary

job functions were to address and resolve customer complaints.

72) Robert's job performance was rated by the percentage of complaints he
could or could not resolve and how many complaints were ultimately
registered to the Hertz’s corporate office. In addition, he was also consistently

rated by each individual customer contact.

73) In addition to the above, Robert was also an independent contractor for a

Corporate Research firm and also conducted similar duties.

74) As a result of Defendants’ actions, Robert found it very hard to concentrate
on customers’ issues and has become quick tempered while performing his
functions at work. In addition, customers and clients have made complaints
regarding their interactions with Robert, further resulting in Robert being
counseled for poor performance by his superiors and/or not being able to

complete some of his duties at work, as he did prior to Defendants’ actions.

75) In addition, Robert withdrew from co-workers and client contacts to avoid
confrontations for several months, while trying to cope with the issues he had

with Defendants’ actions.

76) Co-workers and superiors have advised Robert that his interactions with
customers and clients was causing the department's overall customer quality

performance goals to suffer.

77) Robert felt it hard to address customer complaints at his job, as he continued
to compare his situation with the Defendants’ unlawful actions versus what he
believed to be trivial customer’s complaint issues.

78) Robert sought counseling from his employer to address these ongoing issues.

79) Moreover, Robert withdrew from his fiancé for several months and found it

hard to talk with her, while dealing with how he felt about Defendants’ action.

80) Prior to Defendants’ actions, Robert communicated with his fiancé in

Thailand by phone, email and text on a daily basis.

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81) After Defendants’ actions took place, Robert found it hard to continue this
same pattern, and communicated far lesser with his fiancé and found it hard

continue his relationship with her.

82) As a result of Robert's change, his fiancé felt he was having an affair with
someone else in U.S., and thus, further complicated Robert's relationship with

his fiancé for months.

83) After the Defendants’ left Plaintiff's residence, Plaintiffs observed that items
were removed from drawers, closets and cabinets by Defendants and left on
the floor and beds. In addition, mattresses and furniture were moved in

several rooms and not returned to their original position.

84) Robert saw paperwork from Jamir that was removed from his bedroom
drawer and left on the desk stand. Jamir is Robert's son but never lived at the
residence at issue in this present action.

FIRST CAUSE OF ACTION
UNREASONABLE SEIZURE (42 U.S.C. § 1983)

 

85) Plaintiffs incorporate the above mentioned paragraphs 1-84.

86) Defendants unlawfully arrested Plaintiffs without a search warrant and
without probable cause and/or without valid and sufficient grounds to
reasonably believe Plaintiffs had committed, was committing, or intended to
commit a crime, and Plaintiffs were unlawfully detained by Defendants at gun
point (and/or, perceived gun point at times) for 90 minutes in their residence

without a sufficient basis or justification in law.

87) Under the facts then available, the Defendants did not have an objective,
good faith belief that Plaintiffs were guilty of or would be found guilty of any
offense, and said Defendants acted negligently, intentionally, and/or

recklessly in making such arrest and undertaking said lengthy detention.

88) Plaintiffs’ arrest and detention was made and conducted under the color of
state law and Defendants acted individually and in concert and under the

color of actual or apparent authority purportedly conferred upon the

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Defendants as police officers for the City of Kenosha and as Deputy U.S.

Marshals for the State of Wisconsin.

89) Plaintiffs’ arrest and detention were unlawful and unjustified, and in violation
and deprivation of Plaintiffs’ civil rights, liberties, privileges, and immunities
granted to Plaintiffs under the laws of the United States, including the right to
free from unreasonable and unwarranted searches, seizures, and arrest
under the Fourth Amendment of the United States Constitution, and Plaintiffs’
right to due process of law under the Fourteen Amendment of the United

States Constitution.

90) As of result of Defendants’ actions, Plaintiffs have suffered material losses,
harm, injuries, and damages arising as a direct and proximate result of the
aforementioned unlawful arrest and detention, including without limitation,
Plaintiff's deprivation of liberty and loss of personal freedom, physical harm,
emotional trauma, loss of privacy, irreparable harm to their reputations, and
mental injuries, lost wages, personal property losses, out of pocket expenses,
attorney fees and costs, and all in such amounts to be established by

Plaintiffs in accordance with proof.

91) Plaintiffs did not in any manner procure or consent to their arrest or
detention, and did nothing to cause, invite, provoke, or aggravate the
aforementioned injuries and damages, whether through alleged negligence,

obstructive misconduct, or otherwise.

92) In addition to the foregoing losses and damages, Plaintiffs have suffered and
reasonably expects to continue to suffer from the loss of and damage to their
personal reputation and standing in the community, including humiliation and
public ridicule, and emotional distress, all arising as a consequence of and as

a direct and proximate result of said unlawful arrest and detention.
SECOND CAUSE OF ACTION
UNREASONABLE SEARCH (42 U.S.C. § 1983)

 

93) Plaintiffs incorporate the above mentioned paragraphs 1-92.

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94) Defendants entered Plaintiffs’ residence without consent, without a search
warrant or exigent circumstances. The facts and circumstances within the
knowledge of the law enforcement agents, when viewed in the totality, did not
warrant a reasonable belief that Jamir lived at the Plaintiffs’ residence or that

Jamir was at the residence at the time of entry.

95) Even if Defendants’ had consent or legal authority to enter Plaintiff's
residence, their unlawful search exceeded the boundaries of a “protective
sweep’ safety search. It was not a “quick and limited search of the premises”,
nor was it limited in duration, lasting “no longer than is necessary to address

the reasonable suspicion of danger”.

96) The Defendants searched the residence for 90 minutes. The Defendants
made repeated trips throughout all areas of home, even after making an initial

sweep of the residence.

97) The Defendants searched inside drawers, cabinets and closets and removed
items from these areas, although they had no specific and articulable belief
that someone might be hiding in these small spaces. Defendants were not

entitled to a full search of the Plaintiffs’ home under any set of circumstances.

98) Defendants’ actions of detaining Plaintiffs’ at gun point for 90 minutes and
forcibly opening a bedroom door, while Plaintiffs was asleep, not identifying
themselves, was not objectively reasonable, excessive and violated Plaintiff's

rights.

99) Defendants’ unreasonable search of Plaintiffs’ residence was conducted
under color of state law and Defendants acted individually and in concert and
under the color of actual or apparent authority purportedly conferred upon the
Defendants as police officers for the City of Kenosha and Deputy U.S.

Marshals for the State of Wisconsin.

100) Defendants’ unreasonable search of Plaintiffs ‘residence was unlawful
and unjustified, and in violation and deprivation of Plaintiffs’ civil rights,
liberties, privileges, and immunities granted to Plaintiffs under the laws of the

United States, including the right to free from unreasonable and unwarranted

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searches, seizures, and arrest under the Fourth Amendment of the United
States Constitution, and Plaintiffs’ right to due process of law under the

Fourteen Amendment of the United States Constitution.

101) As of result of Defendants’ actions, Plaintiffs have suffered material
losses, harm, injuries, and damages arising as a direct and proximate result
of the aforementioned unlawful arrest and detention, including without
limitation, Plaintiff's deprivation of liberty and loss of personal freedom,
physical harm, emotional trauma, loss of privacy, irreparable harm to their
reputations, and mental injuries, lost wages, personal property losses, out of
pocket expenses, attorney fees and costs, and all in such amounts to be

established by Plaintiffs in accordance with proof.

102) Plaintiffs did not in any manner procure or consent to the search of their
residence, and did nothing to cause, invite, provoke, or aggravate the
aforementioned injuries and damages, whether through alleged negligence,

obstructive misconduct, or otherwise.

103) In addition to the foregoing losses and damages, Plaintiffs has suffered
and reasonably expects to continue to suffer from the loss of and damage to
their personal reputation and standing in the community, including humiliation
and public ridicule, and emotional distress, all arising as a consequence of

and as a direct and proximate result of said unlawful search of the residence.
THIRD CAUSE OF ACTION
CITY OF KENOSHA UNCONSTITUTIONAL POLICY OR CUSTOM (42 U.S.C. § 1983)

 

104) Plaintiffs incorporate the above mentioned paragraphs 1-103.

105) Defendant, City of Kenosha, maintains an unconstitutional policy or
custom of conducting unlawful entries into residences without legal
justification, arresting citizens without a legal basis and conducting searches

without a legal basis.

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106) Plaintiffs contend the unconstitutional policy or custom can be established
thru acts of a Supervisory Officer, whose edicts or acts may fairly be said to

represent official policy.

107) Defendant Dillhoff, acting in his official capacity, as the Supervisory officer
at the scene, was delegated with the final policymaking authority sufficient to

impose municipal liability upon the City of Kenosha under 42 U.S.C. § 1983.

108) _ Dillhoff made verbal statements to Plaintiffs that he was a Supervisory
Officer in charge of the team of the Defendant officers that conducted said

unlawful acts.

109) In further evidence of Dillhoff's Supervisory role, Defendant officers
repeatedly reported to him at the scene, as they made repeated trips from the

living room area to different rooms in the residence.

110) Dillhoff was advised of the status of the searches by the Defendant
officers and Dillhoff continued to provide ongoing instructions to Defendant

officers on how to further proceed.

111) In addition, the City of Kenosha publishes a public website on the internet
of the Kenosha Police Department’s written official policy, that delegates
Dillhoff, as a Supervisory officer, with the authority and responsibility of
planning, coordinating, assigning officer assignments, working with other law
enforcement agencies and conducting pre- briefings in the execution of the

search warrant and/or warrant service.

112) The aforementioned written policy indicates it is for searches of premises
with and without a warrant. In addition, it reiterates the Supervisory Officer will
be ultimately responsible for all aspects of the search and the outcome of the

execution of the search.

113) At various times during the search, Dillhoff, not only supervised the
Defendant officers, but also “participated” and “assisted” with the illegal

search, false arrest and extended detention of Plaintiffs.

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114) As such, Dillhoff acted knowingly, with reckless disregard or deliberate
indifference to the likelihood that his decisions would result in further

violations of Plaintiffs’ constitutional rights.

115) At all times relevant to this action, Dillhoff, as a Supervisory Officer, was
responsible for the conduct of his subordinates and was personally involved

in formulating, assisting, conducting and directing an unconstitutional policy.

116) Based on Dillhoff’s verbal statement to Plaintiffs and City of Kenosha’s
police department written official policy, in effect at all times relevant to this
action, Dillhoff did not merely exercise discretion but rather acted as a final
policymaker within the context of this case and remained the final policy

making authority on all claims at issue here.

117) It would have been plainly obvious to a reasonable Supervisory official or
policymaker that such conduct would lead to deprivations of Plaintiff's

constitutional rights.

118) Asa direct and foreseeable consequence of these policy decisions,
Plaintiffs’ were deprived of their rights under the Fourth and Fourteenth

Amendments to the United States Constitution.

119) As of result of Defendants’ actions, Plaintiffs have suffered material
losses, harm, injuries, and damages arising as a direct and proximate result
of the aforementioned unlawful arrest and detention policy or custom,
including without limitation, Plaintiff's deprivation of liberty and loss of
personal freedom, physical harm, emotional trauma, loss of privacy,
irreparable harm to their reputations, and mental injuries, lost wages,
personal property losses, out of pocket expenses, attorney fees and costs,
and all in such amounts to be established by Plaintiffs in accordance with

proof.

120) Plaintiffs did not in any manner procure or consent to the search of their
residence, and did nothing to cause, invite, provoke, or aggravate the
aforementioned injuries and damages, whether through alleged negligence,

obstructive misconduct, or otherwise.

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121) In addition to the foregoing losses and damages, Plaintiffs has suffered
and reasonably expects to continue to suffer from the loss of and damage to
their personal reputation and standing in the community, including humiliation
and public ridicule, and emotional distress, all arising as a consequence of

and as a direct and proximate result of said unlawful search of the residence.
FOURTH CAUSE OF ACTION
CONSPIRACY (42 U.S.C. § 1983)

 

122) Plaintiffs incorporate the above mentioned paragraphs 1-121.

123) According to the official written policy by the Kenosha police department,
that was relevant to this present action, it dictates that Supervisory officers
will be delegated with the authority to complete all aspects of the search at
Plaintiffs’ residence and that a pre-briefing will take place with all officers

and/or other law enforcement agencies in executing the search.

124) In addition, Dillhoff admitted to Robert that he was in charge of the team
and was fully aware of all actions completed by Defendants at the residence

and stated their actions were proper.

125) Based on Dillhoff verbal admission and the City of Kenosha’s written
policy, it can be reasonably assumed that a meeting took place with all of the

Defendants, prior to their actions at Plaintiffs’ residence.

126) Moreover, given the collective unlawful actions that took place at Plaintiffs’
residence in concert, it could be reasonably assumed their actions were

discussed and agreed upon.

127) Defendants, acting individually and in concert, unlawfully entered the
Plaintiffs’ residence without consent or identifying themselves, at gun point,
presented a large presence of law enforcement and conducted such acts in a

threatening and intimidating manner.

128) Defendants ‘entered Charles private closed bedroom, while he was

partially dressed and barely awake, made a loud noise to forcibly open the

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bedroom door, failed to announce or identify themselves, placed Charles at

gunpoint and arrested him.

129) Defendants’ continued to keep Plaintiffs ‘under arrest and detained for a

lengthy period of 90 minutes, without justification or legal basis.

130) Defendants’ conducted illegal searches in the private enclosed areas of
the residence, while clearly exceeding any type of “protective sweep” for
safety reasons, and unnecessarily damaged Plaintiffs’ bedroom door, door

knob, designer rug pieces and carpet.

131) In combination with the conduct described above, these actions evidenced
a pattern of extreme and outrageous behavior with the intent to cause

Plaintiffs to suffer severe emotional distress.

132) Defendants’ conduct also had the direct and foreseeable consequence of

making Plaintiffs appear as violent criminals.

133) The large presence of law enforcement officers and the lengthy period
they stayed at Plaintiffs’ residence, would lead any observing neighbors, as in
this case, to believe Plaintiffs’ were involved in obvious and serious illegal
activity.

134) As of result of Defendants’ actions, Plaintiffs have suffered material
losses, harm, injuries, and damages arising as a direct and proximate result
of the aforementioned unlawful arrest and detention, including without
limitation, Plaintiff's deprivation of liberty and loss of personal freedom,
physical harm, emotional trauma, loss of privacy, irreparable harm to their
reputations, and mental injuries, lost wages, personal property losses, out of
pocket expenses, attorney fees and costs, and all in such amounts to be

established by Plaintiffs in accordance with proof.

135) Plaintiffs did not in any manner procure or consent to the search of their
residence, and did nothing to cause, invite, provoke, or aggravate the
aforementioned injuries and damages, whether through alleged negligence,

obstructive misconduct, or otherwise.

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136) In addition to the foregoing losses and damages, Plaintiffs has suffered
and reasonably expects to continue to suffer from the loss of and damage to
their personal reputation and standing in the community, including humiliation
and public ridicule, and emotional distress, all arising as a consequence of

and as a direct and proximate result of said unlawful search of the residence.
FIFTH CAUSE OF ACTION
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS (Wisconsin State Law Claim)

 

137) Plaintiffs incorporate the above mentioned paragraphs 1-136.

138) Defendants acting individually and in concert, unlawfully entered the
Plaintiffs’ residence without consent or identifying themselves, at gun point,
presented a large presence of law enforcement and conducted such acts ina

threatening and intimidating manner.

139) Defendants ‘entered Charles private bedroom while he was partially
dressed and barely awake, made a loud noise after forcibly opening the
closed bedroom door, failed to announce or identify themselves, placed

Charles at gunpoint and arrested him.

140) Defendants’ continued to keep Plaintiffs ‘under arrest and detained for a

lengthy period of 90 minutes, without justification or legal basis.

_ 141) Defendants’ conducted illegal searches in the private enclosed areas in
the residences, clearly exceeding any type of “protective sweep” search for
safety reasons, and unnecessarily damaged Plaintiffs’ bedroom door, door

knob, designer rug pieces and carpet.

142) Asa direct result of Defendants’ actions, Plaintiffs’ relationships with their
family members, friends, co-workers and employers were extremely disabled

due to Plaintiffs’ continued emotional distress.

143) In combination with conduct described above, these actions evidenced a
pattern of extreme and outrageous behavior with the intent to cause Plaintiff

to suffer severe emotional distress.

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144) Defendants’ conduct had the direct and foreseeable consequence of
making Plaintiffs appear as violent criminals, as neighbors and residents of
the neighborhood believed the large presence of law enforcement officers
and the lengthy period they stayed at Plaintiffs’ residence, was due to obvious

and serious illegal activity.

145) Asa result of Defendants’ intentional and outrageous conduct, Plaintiffs
have suffered and continue to suffer from emotional and mental conditions

generally recognized and diagnosed by trained professionals.

146) Asa direct and foreseeable consequence of those conditions, Plaintiffs
have suffered, and continue to suffer, disabling emotional, mental, physical

harm, and irreparable harm to their reputations.
SIXTH CAUSE OF ACTION
CIVIL CONSPIRACY (Wisconsin State Law Claim)

 

147) Plaintiffs incorporate the above mentioned paragraphs 1-146.

148) According to the official written policy by the Kenosha police department,
that was relevant to this present action, it dictates that Supervisory officers
will be delegated with the authority to complete all aspects of the search at
Plaintiffs’ residence and that a pre-briefing will take place with all officers

and/or other law enforcement agencies in executing the search.

149) In addition, Dillhoff admitted to Robert that he was in charge of the team
and was fully aware of all actions completed by Defendants at the residence

and stated their actions were proper.

150) Based on Dillhoff verbal admission and the City of Kenosha’s written
policy, it can be reasonably assumed that a meeting took place with all of the

Defendants, prior to their actions at Plaintiffs’ residence.

151) Moreover, given the collective unlawful actions that took place at Plaintiffs’
residence in concert, it could be reasonably assumed their actions were

discussed and agreed upon.

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152) Defendants acting individually and in concert, unlawfully entered the
Plaintiffs’ residence without consent or announcing or identifying themselves,
at gun point, presented a large presence of law enforcement and conducted

such acts in a threatening and intimidating manner.

153) Defendants ‘entered Charles private bedroom, while he was partially
dressed and barely awake, made a loud noise to forcibly open the closed
bedroom door, failed to announce or identify themselves, placed Charles at

gunpoint and arrested him.

154) Defendants’ continued to keep Plaintiffs ‘under arrest and detained for a

lengthy period of 90 minutes, without justification or legal basis.

155) Defendants’ conducted illegal searches of the private enclosed areas of
the residence, while clearly exceeding any type of “protective sweep” search
for safety reasons, unnecessarily damaged Plaintiffs’ bedroom door, door

knob, designer rug pieces and carpet.

156) In combination with conduct described above, these actions evidenced a
pattern of extreme and outrageous behavior with the intent to cause Plaintiffs

to suffer severe emotional distress.

157) Defendants’ conduct had the direct and foreseeable consequence of
making Plaintiffs appear as violent criminals, as neighbors and residents of
the neighborhood believed the large presence of law enforcement officers
and the lengthy period they stayed at Plaintiffs’ residence was due to obvious

and serious illegal activity.

158) As of result of Defendants’ actions, Plaintiffs have suffered material
losses, harm, injuries, and damages arising as a direct and proximate result
of the aforementioned unlawful arrest and detention, including without
limitation, Plaintiffs deprivation of liberty and loss of personal freedom,
physical harm, emotional trauma, loss of privacy, irreparable harm to their
reputations, and mental injuries, lost wages, personal property losses, out of
pocket expenses, attorney fees and costs, and all in such amounts to be

established by Plaintiffs in accordance with proof.

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159) Plaintiffs did not in any manner procure or consent to the search of their
residence, and did nothing to cause, invite, provoke, or aggravate the
aforementioned injuries and damages, whether through alleged negligence,

obstructive misconduct, or otherwise.

160) In addition to the foregoing losses and damages, Plaintiffs has suffered
and reasonably expects to continue to suffer from the loss of and damage to
their personal reputation and standing in the community, including humiliation
and public ridicule, and emotional distress, all arising as a consequence of

and as a direct and proximate result of said unlawful search of the residence.
SEVENTH CAUSE OF ACTION
FALSE IMPRISONMENT (Wisconsin State Law Claim)

 

161) Plaintiffs incorporate the above mentioned paragraphs 1-160.

162) Defendants detained Robert in the living room for 90 minutes and

informed Robert he was not free to leave or move.

163) In addition, Robert was held at gun point initially and at perceived gun

point for the remaining period of time.

164) Defendants ordered Charles to leave his basement bedroom, at gun point,
and escorted him to the living room area and then advised Charles he was

not free to leave or move.

165) In addition, Charles was held at gun point initially and at perceived gun

point for the remaining period of time.

166) Defendants did not have any legal basis or justification to detain Plaintiffs

for the entire 90 minutes period.

167) As of result of Defendants’ actions, Plaintiffs have suffered material
losses, harm, injuries, and damages arising as a direct and proximate result
of the aforementioned unlawful arrest and detention, including without
limitation, Plaintiff's deprivation of liberty and loss of personal freedom,
physical harm, emotional trauma, loss of privacy, irreparable harm to their

reputations, and mental injuries, lost wages, personal property losses, out of

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pocket expenses, attorney fees and costs, and all in such amounts to be

established by Plaintiffs in accordance with proof.

168) Plaintiffs did not in any manner procure or consent to the search of their
residence, and did nothing to cause, invite, provoke, or aggravate the
aforementioned injuries and damages, whether through alleged negligence,

obstructive misconduct, or otherwise.

169) In addition to the foregoing losses and damages, Plaintiffs has suffered
and reasonably expects to continue to suffer from the loss of and damage to
their personal reputation and standing in the community, including humiliation
and public ridicule, and emotional distress, all arising as a consequence of

and as a direct and proximate result of said unlawful search of the residence.
EIGHTH CAUSE OF ACTION
INVASION OF PRIVACY (Wisconsin State Law Claim)

 

170) Plaintiffs incorporate above mentioned paragraphs 1-169.

171) Defendants acting individually and in concert, unlawfully entered the
Plaintiffs’ residence without consent, without announcing or identifying
themselves, at gun point, presented a large presence of law enforcement and

conducted such acts in a threatening and intimidating manner.

172) Defendants ‘entered Charles private bedroom, while he was partially
dressed and barely awake, made a loud noise to forcibly open his closed
bedroom door, failed to announce or identify themselves, placed Charles at

gunpoint and arrested him.

173) As of result of Defendants’ actions, Plaintiffs have suffered material
losses, harm, injuries, and damages arising as a direct and proximate result
of the aforementioned unlawful arrest and detention, including without
limitation, Plaintiff's deprivation of liberty and loss of personal freedom,
physical harm, emotional trauma, loss of privacy, irreparable harm to their

reputations, and mental injuries, lost wages, personal property losses, out of

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pocket expenses, attorney fees and costs, and all in such amounts to be

established by Plaintiffs in accordance with proof.

174) Plaintiffs did not in any manner procure or consent to the search of their
residence, and did nothing to cause, invite, provoke, or aggravate the
aforementioned injuries and damages, whether through alleged negligence,

obstructive misconduct, or otherwise.

175) In addition to the foregoing losses and damages, Plaintiffs has suffered
and reasonably expects to continue to suffer from the loss of and damage to
their personal reputation and standing in the community, including humiliation
and public ridicule, and emotional distress, all arising as a consequence of

and as a direct and proximate result of said unlawful search of the residence.

176) By this complaint, Plaintiffs seeks compensation for and the full recovery
of all monetary losses, damages, injuries, costs and expenses incurred and
suffered by Plaintiffs, arising out of and/or resulting from the Defendants’
violation of Plaintiff's federal constitutional rights and freedoms as alleged

above.

PRAYER FOR RELIEF

 

Wherefore, Plaintiffs requests and demands judgment be entered against the
Defendants in excess of $1,000,000.00, jointly and severally, to redress the injuries
proximately and directly caused by Defendants’ conduct, as stated in Paragraphs 1-176
above, and as follows:

A. For all actual, compensatory, and general pecuniary damages and
losses suffered by Plaintiffs, in accordance with proof;

B. For all special damages and reasonably foreseeable consequential
economic damages suffered by Plaintiffs, in accordance with proof and as

allowed or permitted by applicable law;

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C. For the costs and expenses of pursuing this action, including the
recovery of reasonable attorney's fees, costs, and expenses incurred by
Plaintiffs, as allowed or permitted by applicable law;

D. For punitive and/or exemplary damages as may be appropriate under
the circumstances and as allowed or permitted by applicable law:

E. For such injunctive and/or declaratory and/or other equitable relief as
may be appropriate or necessary under the circumstances; and

F. For all such other and further relief to which Plaintiffs is entitled and as

is just and proper in the premises.
JURY DEMAND
Plaintiffs hereby request a trial by jury on all claims so triable.

|, (Plaintiffs), declare under penalty of perjury that the foregoing is true and correct.

   
  
 

aint signed this 23" day of April, 2013.

( By: Ce p=

pert Johnson, Pro Se Charles Johnson, Pro Se

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